                                                                                              08/22/2024



                                                                                          Case Number: DA 24-0428

          IN THE SUPREME COURT OF THE STATE OF MONTANA

                                          DA 24-0428


IN RE THE MATTER OF THE ESTATE
OF
                                                                        THIRD ORDER
THOMAS GEORGE BENNETT,                                        OF MEDIATOR APPOINTMENT

            Deceased.



        Therese Fox Hash, the mediator previously appointed in this matter, has notified the
parties that she declines the appointment. Accordingly, Ms. Hash’s order of mediator
appointment is hereby rescinded and
        IT IS ORDERED THAT Dean D. Chisholm, whose name appears next on the list of
attorneys desiring appointment as mediators for Money Judgment appeals which is maintained
pursuant to M.R.App.P., 7(4)(e), is hereby appointed to conduct the mediation process
required by M.R.App.P., 7(5), and
        IT IS FURTHER ORDERED that the time periods set forth in M.R.App.P., 7(5)(d)
shall run from the date of this order of appointment.
        A true copy of this order is being mailed to counsel of record for the parties, or to the
parties individually if not represented by counsel, on the date hereof.

DATED this 22nd day of August, 2024.



                                                                 _
                                               Bowen Greenwood, Clerk of the Supreme Court
